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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

                                                                              Civil No. 19-___-P-_

JOHN DOE,                                      )
                                               )
                               Plaintiff       )
                                               )
               v.                              )
                                               )
UNIVERSITY OF MAINE                            )
SYSTEM and DAVID FIACCO,                       )
                                               )
                               Defendants      )


               PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING
                     ORDER AND PRELIMINARY INJUNCTION,
                  WITH INCORPORATED MEMORANDUM OF LAW

       Pursuant to Rules 65(a) and 65(b) of the Federal Rules of Civil Procedure, Plaintiff

John Doe requests that this Court enter a temporary restraining order and preliminary injunction

requiring Defendants University of Maine System and David Fiacco to terminate Plaintiff’s

suspension and restore his access to the University of Maine at Farmington so he can complete

his degree requirements.

                                           INTRODUCTION

       Plaintiff John Doe brings this action against Defendant University of Maine System

(“UMS”), which operates a system of public post-secondary educational institutions, including

the University of Maine at Farmington (“UMF”), and David Fiacco, UMS’s Director of

Community Standards, Rights and Responsibilities. Plaintiff is a student at UMF.

       In 2017, Plaintiff, a man, reported to UMF that he had been sexually harassed and raped

by another student, his female apartment-mate. The woman admitted the rape in writing. UMF

violated federal law by failing to take any steps to investigate Plaintiff’s report or to protect him.
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When another female student falsely accused Plaintiff of sexual assault, however, UMF

immediately launched an investigation. Following months of inquiry and hours of testimony at

three separate hearings, UMF’s Title IX investigator exonerated Plaintiff of the assault

allegation.

         Subsequently, nearly two years after graduating from UMF, Plaintiff’s admitted rapist

made an allegation of sexual assault against Plaintiff. Upon receiving this charge, Defendant

Fiacco suspended Plaintiff from UMF without notice or hearing on March 1, 2019. The

suspension barred him from all University of Maine System property while the matter was

pending, and threatened him with arrest if he violated the terms of the suspension.

         Despite six months having passed, the investigation of the new charge against Plaintiff

has yet to occur. The investigator tapped to succeed Mr. Fiacco failed to contact any of

Plaintiff’s witnesses. On August 30, Plaintiff learned that Defendant was appointing a third

investigator to work on his case, thereby prolonging Plaintiff’s unjustified suspension and

preventing him from attending the fall semester classes he needs to graduate. Mr. Fiacco then

reappeared on September 7, 2019, informing Plaintiff of his intent to review Plaintiff’s

suspension to determine whether it should continue this semester, again without due process.

                                              FACTS1

UMF took no action on Plaintiff’s reports of sexual harassment and rape.

         In spring 2017, Plaintiff reported to a UMF employee that another student—one of

Plaintiff’s female apartment-mates (K.P.)—was being sexually aggressive toward him and using

drugs. Defendant UMS is subject to Title IX of the Education Amendments of 1972, 20 U.S.C.

§ 1681 et seq. (“Title IX”). Title IX requires that, if an educational institution knows or



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    This statement of facts is drawn from the accompanying Declaration of John Doe.
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reasonably should know about student-on-student harassment that creates a hostile environment,

it must take immediate and appropriate steps to investigate or otherwise determine what

occurred. Title IX also requires a school to protect the complainant and ensure his or her safety,

including taking any interim steps pending the outcome of the investigation. In spite of these

requirements, the UMF employee took no steps to protect Plaintiff or investigate his report.

       Later during the spring semester 2017, K.P. raped Plaintiff. In or about May 2017, K.P.

admitted in writing that she had raped Plaintiff. After K.P. graduated from UMF that year,

Plaintiff reported to three UMF administrators that his female apartment-mate had raped him.

Despite this report, UMF still took no steps to commence an investigation, and it rebuffed

demands from Plaintiff’s attorney to conduct an investigation.


UMF exonerated Plaintiff of sexual assault.

       During September 2017, Plaintiff was dating another female student (M.P.). The two of

them had been dating since spring 2016. Their relationship was so close that (a) M.P.’s family

invited Plaintiff to spend the 2016 Christmas recess with them at M.P.’s grandparents’ home in

Vermont; (b) M.P. maintained a long-distance relationship with Plaintiff while she spent the

spring semester of 2017 in Alaska; (c) M.P.’s mother frequently texted Plaintiff throughout

spring and summer 2017, inviting him over for dinner, offering to do his laundry, and saying

how happy she was that he was dating her daughter; (d) during May 2017—and both prior to and

after that month—M.P. sent nude photos of herself, along with sexually-themed texts, to

Plaintiff; and (e) in August 2017, M.P. texted Plaintiff repeatedly to say that she was looking

forward to seeing him at school that fall.




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       On September 27, 2017, Plaintiff had consensual sexual contact with M.P. following their

return to UMF. In the days after that contact, M.P. sent multiple friendly text messages to both

Plaintiff and his friends, asking how Plaintiff was doing.

       Unbeknownst to Plaintiff, M.P. had commenced a new relationship while in Alaska, and

felt guilty that she had engaged in sex with Plaintiff. Five days after the sexual contact, M.P.

contacted the Farmington police to report, falsely, that Plaintiff had assaulted her. The district

attorney, however, opted not to press charges against Plaintiff because M.P.’s guilt about having

another boyfriend had caused her to accuse Plaintiff falsely. Both sides agreed to enter into

mutual Protection From Abuse (“PFA”) orders in civil court on October 11, 2017.

       Although UMF had failed to investigate Plaintiff’s reports that he was sexually harassed

by K.P., UMF did initiate a Title IX investigation of M.P.’s false allegations against Plaintiff. It

assigned Laura Rodas to investigate. Throughout the investigation, M.P. said that she wanted

UMF to give her “justice,” because the court would not do what she wanted.

       In November 2017, another female UMF student (B.L.) contacted Ms. Rodas. She made

various allegations against Plaintiff, but provided no evidence. Ultimately, Ms. Rodas found B.L.

not to be credible. Plaintiff told the Director of Student Life that, while he had not so much as

touched B.L., she had been sexually aggressive toward him and had texts to support this. Despite

this, UMF failed to commence a Title IX investigation against B.L.

       At the hearing before Ms. Rodas, M.P. alleged concerns about Plaintiff returning to

campus for the 2017-2018 academic year. But Plaintiff’s attorney emphasized that M.P. had sent

nude photos and sexual texts to Plaintiff, then told him in August 2017 how much she was

looking forward to seeing him on campus that fall. M.P.’s mother also lied to Ms. Rodas,

claiming that she had had concerns with Plaintiff since Christmas 2016, and indicated that she


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had rarely texted him. Plaintiff’s attorney, however, shared with Ms. Rodas the dozens of texts

that M.P.’s mother had sent to Plaintiff through July 2017, many of which invited him over for

dinner.

          Ms. Rodas estimated that she spent 100 hours on the case before issuing her decision. In

the end, she was not fooled by M.P.’s story. On December 15, 2017, based on all the evidence

provided—including M.P.’s multiple friendly texts to Plaintiff after the sexual encounter, as well

as M.P.’s admission that Plaintiff had asked for and received her ongoing consent during their

sexual encounter—Ms. Rodas found that Plaintiff was “Not Responsible” on M.P.’s allegations

of sexual harassment, sexual assault, dating violence, and causing fear of physical harm.2

          The findings from Ms. Rodas allowed Plaintiff to continue at UMF. She issued a

“Deferred Sanction,” while instituting a “No Contact Order” between Plaintiff and M.P. for the

rest of Plaintiff’s time at UMF. M.P. appealed these findings to the Student Conduct Code

Committee (the “Committee”). The Committee met on January 29, 2018, to conduct a hearing.

          At the appeal hearing, M.P. repeatedly mentioned B.L., even though B.L. had been

completely discredited as a witness. M.P. admitted having spoken to B.L. during the week

leading up to the hearing. By this point, B.L. had filed for a PFA against Plaintiff in civil court,

using the same attorney who had represented M.P. That attorney introduced evidence of B.L.’s

PFA Order in M.P.’s proceedings before the Committee.




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  While Ms. Rodas made a “Responsible” finding against Plaintiff for harassment/intimidation
and stalking, she did so only based on the sheer volume of calls and texts from Plaintiff to M.P.
over a two-month period. While her decision acknowledged that M.P. had indicated to Plaintiff
that he was not a bother and that he could continue contacting her, Ms. Rodas concluded
nevertheless any reasonable person should have known that such a volume of communication
could adversely affect M.P.
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       On January 31, 2018, the Committee overturned Ms. Rodas’s decision, ruling for M.P. by

finding Plaintiff responsible for sexual assault and causing fear of physical harm. The Committee

suspended Plaintiff from the University of Maine System through May 31, 2019, prohibiting him

from entering any part of the UMF campus or any campus within the UMS.

       Plaintiff timely appealed this decision. The appeal took weeks, during which his

suspension continued. In March 2018, a three-member President’s Panel (the “Panel”) reviewed

Plaintiff’s appeal and found Plaintiff not responsible for sexually assaulting M.P. The Panel

decision found that the Committee hearing had been improperly tainted with evidence from B.L.,

and also that—no matter how their testimony to the Committee had differed— Plaintiff and M.P.

both agreed that the September 2017 sexual encounter was consensual. One day later, on March

28, 2018, a civil court judge threw out B.L.’s PFA case against Plaintiff, relying on the

exculpatory texts and B.L.’s admission on the stand that she had lied about Plaintiff.

       Though he was cleared in the end, Plaintiff’s entire 2017-2018 school year was lost.

UMF retaliated against Plaintiff by ignoring its own Title IX findings and instead suggesting
publicly that he was guilty of sexual assault.

       In January 2019, M.P. and another woman both approached the Bangor Daily News

(“BDN”). The other woman had also been involved in a Title IX case at UMF, having brought

charges against a different man. Both women had lost their Title IX cases. They told their stories

to a BDN reporter, Erin Rhoda.

       Ms. Rhoda published a one-sided story in the BDN on January 28, 2019, entitled “Step

by step, 2 women detail Maine university’s failings in their rape cases.” The article’s theme was

that UMF had made mistakes in handling their cases, thereby allowing two rapists to go free and

threatening the safety of women on campus. The article asserted that “both students experienced

errors in the handling of their cases and saw their findings overturned in bizarre fashion.”

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       In the article, UMF’s interim president, Eric Brown, failed to defend UMF’s decisions

regarding the Title IX allegations. He did not mention how B.L.’s PFA had tainted the only

decision that had gone in M.P.’s favor, or how B.L.’s PFA order had been vacated because B.L.

had lied to the judge. Nor did Brown point out that M.P.’s allegations had been struck down by

the Panel, or that the Panel and Investigator Rodas had found that Plaintiff and M.P. had been

“aligned on mutual, verbal consent” with respect to the September 2017 encounter. Instead,

Interim President Brown commented that the two women “showed great courage.”

       The next day, January 29, 2019, President Brown emailed all UMF staff, students, and

members of the Board of Visitors about the BDN article. In the email, Brown supported the

allegations of wrongdoing, implying that Plaintiff had in fact assaulted M.P. and calling her a

“victim.” Brown repeated his praise of M.P.’s “great courage,” and stated that he was

“personally moved and saddened” by the BDN article.

       Ms. Rhoda then wrote a follow-up story in the BDN on February 7, 2019, entitled

“Students confront UMF officials about handling of rape cases.” This article referred to a

gathering of about 100 people on campus, assembled to ask questions of President Brown. The

article stated that the group’s questions stemmed from the BDN report of how UMF had “made

errors in the cases of two female students who reported being raped.” Brown did not contradict

the BDN’s assertion; instead, he agreed that UMF had erred in its handling of the allegations

against Plaintiff and stated that UMF needed to make changes. Absent from Brown’s statements

was any mention of the verifiable steps that had in fact been taken, such as conducting

interviews, holding hearings, and reaching a finding that M.P. had given ongoing consent.




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UMF suspended Plaintiff six months ago without prior notice or a hearing.

       On March 1, 2019, Defendant Fiacco issued a notice of suspension letter to Plaintiff.

Complaint, Ex. A. Effective immediately, UMF would not permit Plaintiff to go to class or be

anywhere on campus. The stated reason for this suspension was that a new Title IX claim had

been filed against him. The person filing the 2019 complaint was none other than K.P., the

former apartment-mate who had admitted raping Plaintiff and who had graduated and left the

State of Maine in 2017.

       UMF admitted to Plaintiff at this time that it should have started investigations of both

K.P. and B.L. upon Plaintiff’s reports of their behavior. K.P.’s graduation did not protect her

from Title IX allegations, nor did B.L.’s withdrawal from UMF shield her from allegations of

Student Conduct Code violations. UMF continues to be able to pursue investigations against

former students; sanctions can include placing the investigation results on that student’s record

or even revoking a previously issued diploma.

       The Fiacco suspension letter summarizes K.P.’s allegations: (i) that between fall 2015

and spring 2017, Plaintiff had engaged in sexual intercourse with K.P. multiple times through the

use of coercion; (ii) that, on one occasion, he prevented K.P. from leaving a room in their

residence for 45 minutes; and (iii) that, on one occasion, Plaintiff struck K.P. with his elbow,

causing her to bleed from her lip. Plaintiff denies all of these false allegations.

       The Fiacco letter, issued without prior notice or any hearing, reinstated the punishment

from the vacated Committee decision, as it barred Plaintiff from UMF and all University of

Maine System property, including participation in all classes, while the matter was pending. It

instructed him to vacate the campus property immediately or risk arrest.




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       Plaintiff’s attorney, Thomas Carey, challenged the interim suspension as unwarranted and

burdensome in a letter to Interim President Brown: “[K.P.] is currently residing in California and

is not a student at the University of Maine at Farmington. [John] is still a student and the interest

of him attending classes in order to graduate UMF certainly outweighs these unfounded and

defamatory allegations.” Attorney Carey’s letter also stated that K.P.’s allegations were false,

and brought up her written admission that she had been sexually aggressive to Plaintiff. Attorney

Carey’s letter called the new allegations against Plaintiff retaliatory, most likely connected with

M.P. and B.L., as they had solicited K.P. to make these false allegations.

       Defendant responded to Plaintiff in a letter from Kim-Marie M. Jenkins, Ed. D., dated

March 14, 2019. The letter neglected to address that K.P. had graduated from UMF; instead, it

repeated that the alleged behavior was “serious” and a “potential threat to campus safety.”

Although the letter asserts that “there is initially sufficient reason to believe your behavior has

endangered multiple women,” it identifies no such women and fails to acknowledge that Plaintiff

had been cleared of M.P.’s charges or that a judge had rejected B.L.’s claims as false.

       UMF did not schedule and has not scheduled any hearing relating to K.P.’s allegations

against Plaintiff. Defendant replaced Mr. Fiacco with a new investigator, Scott Helmke, without

explanation. As of August 30, 2019, Helmke had yet to complete his investigation.

       On March 5, 2019, Ms. Rhoda published another article in the BDN, entitled “UMF takes

‘immediate steps’ to ensure safety after multiple women say student assaulted them.” For a third

time, she quoted Interim President Brown, who went further than ever before. Brown suggested

(contrary to UMF’s Panel decision) that Plaintiff was responsible for sexual assault: “Any

allegation of sexual abuse or violence on our campus must be taken seriously no matter when it




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occurs, and that is especially important when the claims all involve conduct and actions by a

single individual, as appears to be the case here.” (Emphasis added.)

       Plaintiff and his attorney, Thomas Carey, met with the newly-assigned Title IX

investigator on May 3, 2019. Plaintiff provided the details about the occasion on which K.P.

raped him. He showed Mr. Helmke the text in which K.P. admitted the rape. Mr. Helmke

confirmed at the meeting that K.P. would lose her diploma if what Plaintiff said was true.

Plaintiff also provided names of witnesses who could tell Mr. Helmke about prior instances of

K.P. threatening him, but Mr. Helmke did not contact them even once with so much as an email

or phone call.

       For months after May 3, 2019, Mr. Helmke went silent and would not respond to emails

or calls from Plaintiff’s attorney. Given UMF’s silent treatment, Plaintiff was trapped. He could

not refute K.P.’s Title IX claims and clear his name; there were no scheduled proceedings and no

deadlines for action. He was unable to complete the three remaining classes he needs to graduate.

       On August 26, 2019, Plaintiff’s new counsel sent a draft complaint to James Thelen,

counsel for Defendant UMS in this case, in an attempt to resolve the stalemate. Plaintiff’s

counsel also provided a copy of the recent First Circuit decision in Haidak v. University of

Massachusetts-Amherst, 933 F.3d 56, slip op. at 30 (1st Cir. 2019). O’Meara Declaration, ¶¶ 2-3.

Plaintiff’s attorney requested—based on Haidak—that Defendant UMS immediately terminate

Plaintiff’s suspension and restore his access to UMF, as classes were about to begin. Id.

       Plaintiff then received a letter dated August 30, 2019, from Elizabeth Lavoie,

Defendant’s Deputy Title IX Coordinator. Complaint, Ex. B. Despite the complete lack of

procedural due process in connection with the March 2019 suspension order, Ms. Lavoie sought

to “review” the suspension order to see if it should continue. Id. The letter also addresses what


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evidence UMS will consider, citing the need for a “re-review” of information “collected in the

course of the investigations to date and relevant prior disciplinary history.” She gave Plaintiff the

opportunity to provide additional information until September 4 (later extended to September 9).

       Defendant then names a new investigator to replace Scott Helmke, tapping Kenda

Scheele to take over because Mr. Helmke allegedly was “too busy.” The new investigator

indicated to Plaintiff that she would be using what Helmke had gathered already and continuing

her own investigation, thereby causing further delay. She scheduled a telephone interview with

one of Plaintiff’s witnesses for Friday, September 6, then canceled and rescheduled it, and then

canceled the rescheduled call. The witness interview still has yet to occur.

       On September 7, Plaintiff received another letter from Mr. Fiacco, the author of his

suspension notice, indicating that Fiacco was re-entering the case for the purpose of “review[ing]

the status” of the March 2019 suspension. Complaint, Ex. C. The newest Fiacco letter states that

the “singular purpose of my review is to determine whether, and under what circumstances, the

interim suspension issued to you on March 1, 2019 should continue.” Mr. Fiacco has afforded

Plaintiff only an opportunity to participate in a one-hour telephone interview for this purpose,

and has provided him with no other due process protections.



                                  MEMORANDUM OF LAW

       As Plaintiff continues to be directly and adversely affected by Defendants’ suspension

order and continuing failure to provide him with the basic constitutional protection of procedural

due process, he requests that this Court enter a temporary restraining order and preliminary

injunction directing Defendants to lift his suspension forthwith and restore his access to UMF so

he can begin attending fall semester classes immediately.


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          To obtain preliminary injunctive relief, Plaintiff must demonstrate:

      (1) “a likelihood of success on the merits,

      (2) a likelihood of irreparable harm absent interim relief,

      (3) a balance of equities in the plaintiff's favor, and

      (4) [that the injunction will be in] service of the public interest.”

Arborjet, Inc. v. Rainbow Treecare Sci. Advancements, 794 F.3d 168, 171 (1st Cir. 2015) (citing

Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011).

Plaintiff as the moving party “bears the burden of establishing that these four factors weigh in its

favor.” Esso Standard Oil Co. v. Monroig-Zayas, 445 F.3d 13, 18 (1st Cir. 2006).


I.        PLAINTIFF IS PROVIDING NOTICE TO DEFENDANTS.

          The Rules state that a temporary restraining order may be issued without written or oral

notice to the adverse party or its attorney in certain circumstances. Fed. R. Civ. P. 65(b). The

Rules are silent as to the applicable standard when notice has been provided. See id.

          Plaintiff is providing counsel for Defendants with notice through provision of all the

pleadings being filed with the Court. O’Meara Declaration at ¶ 4. Plaintiff submits that this

notice is sufficient and that a temporary restraining order either should be granted without a

hearing or that a hearing should be scheduled as soon as possible.


II.       PLAINTIFF LIKELY WILL PREVAIL ON THE MERITS.

          While it lasts, a suspension from a public university deprives a student of all of the

benefits of being enrolled at a university. Haidak v. University of Massachusetts-Amherst, 933

F.3d 56, slip op. at 30 (1st Cir. 2019). A deprivation of this magnitude requires notice and a

hearing. Id., citing Goss v. Lopez, 419 U.S. 565, 579 (1975).


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       As a general rule, notice and hearing should precede any suspension from a public

university. Haidak, slip op. at 31. The only exception to this rule is in cases of exigency—where

the state must act quickly in the face of a true emergency, and it would be impractical to offer

pre-deprivation process. Id. In Haidak, the First Circuit held that a public university violated a

student’s due process rights by suspending him for five months with no hearing or prior notice.

See Haidak at 33. According to the court of appeals, the “key issue” on any such suspension is

whether the student at issue represents “a threat to the university community.” Id. at 32. On that

issue, the Haidak court rejected the university’s argument because: (1) Haidak had disputed his

accuser’s story in a way that could be verified; and (2) the school easily could have gleaned the

truth: “The university could easily have confronted [the accuser] with the information provided

by Haidak, and even a rudimentary hearing would have revealed that Haidak’s contact with [the

accuser] was welcomed and reciprocated.” Id.

       Notably, where there is no exigency, the Haidak court held that due process requires

“something more than an informal interview with an administrative authority of the college.” See

id. at 32. The court deemed the telephone conference interview provided in Haidak to be

insufficient. See id. at 8, 32. The First Circuit also confirmed in Haidak that, where the response

depends on credibility, “a university must do more than presume one version to be correct.” Id.

at 32-33.

       Here, exactly as in Haidak, Defendants presumed the complainant’s version to be correct.

And even though the complainant had graduated two years previously and no longer was on

campus, Defendants slapped Plaintiff with a lengthy suspension without prior notice or hearing,

despite the absence of any exigency. There was no process for determining, based on any

evidence, that Plaintiff actually posed some real threat to the university community that could


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not be managed in a manner less restrictive than a complete ban from campus and from all

classes. As indicated by the Interim President’s multiple statements published in the Bangor

Daily News, Defendants already had predetermined—despite the actual evidence—that Plaintiff

had “endangered multiple women.” These statements, of course, contradict UMF’s own Title IX

findings about Plaintiff, which the school reached after months of exhaustive investigation

lasting nearly the entire 2017-2018 school year. Plaintiff has witnesses who can verify what

actually occurred between him and K.P.—in direct rebuttal to the latest allegations leveled

against him—yet Defendants’ investigators have spent the past six months avoiding this

evidence, presumably due to the predetermined narrative of the Interim President.

       Plaintiff expects Defendants to tout the fact that, upon being provided notice of the

complaint to be filed and the Haidak decision, they have recently agreed to provide Plaintiff with

a process to “re-review” the continuation of his interim suspension. Defendant Fiacco, who

issued the initial suspension order without due process, has resurfaced as of Saturday, September

7, for the express purpose of conducting this review. Defendants’ proposed course of action,

however, still fails to comply with the Constitution.

       First, any decision concerning Plaintiff’s suspension must take into account that his

March 2019 suspension order was constitutionally defective, for the reasons described in Haidak.

In other words, Plaintiff does not enter the 2019-2020 school year as a validly suspended student,

but as a non-suspended student; he must be treated in this manner during the course of any future

proceedings. A “review” proceeding, therefore, cannot be legitimate when it purports simply to

look again at whether the suspension should “continue” when it was not valid at the outset.

       Second, placing Defendant Fiacco in charge of the “review” proceeding taints the result

in an unconstitutional manner. Having plainly violated Plaintiff’s rights in March 2019, Fiacco


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has every incentive now to find reasons to support his prior suspension order, in an attempt to

moot Plaintiff’s claim.

        Third, the process outlined by Defendant Fiacco in his September 7 communication

continues to violate Plaintiff’s constitutional rights. Fiacco still has yet to articulate any issue

concerning why Plaintiff poses a direct threat to the safety of the university community—other

than the yet-to-be investigated allegations of K.P.—so it is impossible for Plaintiff to offer

evidence on this issue, other than to deny that he is a threat to anyone. Nor does the proceeding

propose to consider any less-restrictive means of protecting the community while permitting

Plaintiff to participate fully in classes and in other on-campus activities. The proposed process

also continues to violate the Constitution, as it will consist merely of separate one-hour telephone

interviews with Plaintiff and his accuser; Plaintiff will have no opportunity to hear what he is

being accused of and no opportunity to rebut those accusations or cross-examine. Defendant

Fiacco also has not pledged to hear evidence from the other witnesses that Plaintiff identified

months ago. As explained in Haidak, Plaintiff is entitled to notice and a hearing prior to be

suspended, and he still has been offered neither by Defendants.


IV.     PLAINTIFF WILL SUFFER IRREPARABLE INJURY UNLESS THE COURT
        GRANTS INJUNCTIVE RELIEF.

        Irreparable harm is a substantial injury that is not accurately measurable or adequately

compensable by money damages. Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12,

19 (1st Cir. 1996). In Brown v. Board of Education, 347 U.S. 483 (1954), the Supreme Court

explained that “education is perhaps the most important function of state and local governments

. . . It is required in the performance of our most basic public responsibilities . . . it is the very




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foundation of good citizenship.” Id. at 493. The loss of educational opportunity is an injury not

compensable by money damages. Its loss, therefore, is irreparable in the legal sense.

       Courts have held that deprivation of one's education inflicts harm that cannot be remedied

by money damages. See, e.g., Johnson v. Collins, 233 F. Supp. 2d 241, 251 (D.N.H. 2002) (“I

find that the Johnsons have made an adequate showing that Andrew is likely to suffer irreparable

harm absent injunctive relief if he continues to be deprived of an education during the pendency

of this lawsuit”); Murphy v. Fort Worth Independent School Dist., 258 F. Supp. 2d 569, 575

(N.D. Tex.) (“No form of compensation is available to [plaintiff] for the injury he would suffer if

he were not to be returned in his home school for the continuation of his education”), vacated on

other grounds, 334 F.3d 470 (5th Cir. 2003).

       If injunctive relief is not promptly issued, Plaintiff will suffer immediate and irreparable

harm, because he cannot attend any classes on any campus in the UMS system. He already has

missed an entire academic year due to the protracted Title IX investigation surrounding M.P.’s

discredited allegations. The March 2019 suspension once again blocked him from attending

classes at the conclusion of the spring 2019 semester; now that unconstitutional suspension

threatens to keep him out of classes for the fall 2019 semester as well. Defendants have delayed

investigating the merits of the false charges leveled against Plaintiff, while barring him from

campus. He is only three classes away from completing his graduation requirements. Without an

injunction to end Plaintiff’s unlawful suspension, he will suffer irreparable harm.

V.     THE INJURY TO PLAINTIFF IN THE ABSENCE OF A PRELIMINARY
       INJUNCTION OUTWEIGHS ANY HARM TO DEFENDANT.

       This Court must weigh the balance of equities, which is “whether the harm caused

plaintiff without the injunction, in light of the plaintiff's likelihood of eventual success on the




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merits, outweighs the harm the injunction will cause defendants.” Vargas-Figueroa v. Saldana,

826 F.2d 160, 162 (1st Cir. 1987).

       The harm to Plaintiff without the injunction is that he will lose yet another academic year

while Defendants mire him in a never-ending investigation. Defendants have yet to identify any

demonstrable harm that would result from lifting the suspension, especially since Plaintiff’s

accuser has graduated and is no longer on campus or even in the State of Maine. There has yet to

be any finding against Plaintiff that he engaged in any form of sexual assault. He poses no

danger. Despite the negative press in the Bangor Daily News, and UMF’s baffling decision to

ignore its own findings exonerating Plaintiff, the entire narrative being pinned on Plaintiff is

baseless.


VI.    GRANTING THIS TEMPORARY RESTRAINING ORDER SERVES THE
       PUBLIC INTEREST.

       “The public interest factor requires this Court to inquire whether there are public interests

beyond the private interests of the litigants that would be affected by the issuance or denial of

injunctive relief.” Everett J. Prescott, Inc. v. Ross, 383 F. Supp. 2d 180, 193 (D. Me. 2005).

       Here the public interest weighs in favor of requiring Defendants to provide its students

due process before depriving them of their property interest in their education. Given that UMF

has never demonstrated that Plaintiff poses any danger—and has in fact made its own detailed

Title IX findings to the contrary—the public interest will not be adversely affected by lifting

Plaintiff’s suspension. See Johnson v. Collins, 233 F.Supp.2d 241 (D.N.H. 2002) (public interest

weighs in Plaintiff’s favor where he was expelled without hearing and there was no finding that

he was a danger to the school community.)




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                                         CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court grant his motion

for temporary restraining order and preliminary injunctive relief requiring Defendants to lift the

suspension order and restore his access to UMF so he can complete his degree.



Dated: September 9, 2019.

                                                     /s/ Richard L. O’Meara
                                                     Richard L. O’Meara

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